Case 1:24-cv-00001 Document 64-5 Filed on 02/01/24 in TXSD Page 1 of 2




              Exhibit C-B
             Case 1:24-cv-00001 Document 64-5 Filed on 02/01/24 in TXSD Page 2 of 2




From:                             Gwynne Shotwell
Sent:                             Thursday, June 16, 2022 8:53 PM
To:                               Gwynne Shotwell
Cc:                               Brian Bjelde
Subject:                          Please stay focused on the SpaceX mission


You may have received an unsolicited request from a small group of SpaceX employees for your signature on an “open
letter” yesterday and your participation in a related survey. Based on diverse employee feedback, this has upset many.
That is, the letter, solicitations and general process made employees feel uncomfortable, intimidated and bullied, and/or
angry because the letter pressured them to sign onto something that did not reflect their views. Employees also
complained that it interfered with their ability to focus on and do their work. We have 3 launches within 37 hours for
critical satellites this weekend, we have to support the astronauts we delivered to the ISS and get cargo Dragon back to
flight-ready, and after receiving environmental approval early this week, we are on the cusp of the first orbital launch
attempt of Starship. We have too much critical work to accomplish and no need for this kind of overreaching activism –
our current leadership team is more dedicated to ensuring we have a great and ever-improving work environment than
any I have seen in my 35-year career.

We solicit and expect our employees to report all concerns to their leadership, senior management, HR, or Legal. But
blanketing thousands of people across the company with repeated unsolicited emails and asking them to sign letters and
fill out unsponsored surveys during the work day is not acceptable, goes against our documented handbook policy, and
does not show the strong judgment needed to work in this very challenging space transportation sector. We performed
an investigation and have terminated a number of employees involved.

I am sorry for this distraction. Please stay focused on the SpaceX mission, and use your time at work to do your best
work. This is how we will get to Mars.




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